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                                                                160
9/6/22, 9:56 AM                                             SHEIN-Fashion Shopping Online - Apps on Google Play



             Google Play                                                                                                 (?) •

                         Games                   Apps             Movies & TV               Books                 Kids




https://play.google.com/store/apps/details?id=com.zzkko&hl=en                                                                     1/5


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9/6/22, 9:56 AM                                                 SHEIN-Fashion Shopping Online - Apps on Google Play



                    Google Play                                                                                              (?) •

                                         Games        Apps             Movies & TV              Books                 Kids




        SHIPPING            ~E'TI.JRNS
        ut <,ll    S49•    'tttn1r1,.,.,, . ~




     About this app                                                                                                                  ➔

     Now introducing the SHEIN mobile app! Everything you love about our site, now at your fingertips. SHEIN is
     a fun, ultra-affordable online shopping platform featuring styles for women, men, kids, curve, plus over
     20,000+ styles including dresses, tops, swimwear, shoes and accessories. Think of us as your one-stop
     destination for everything trendy! We'll keep you in the loop with push notifications, you can engage with
     other SHEIN lovers in real time and browse over 1000+ daily new arrivals, plus styling tips, livestreams,
     reviews and more to inspire you! ...


     Updated on
     Sep 1, 2022



        #4 top free shopping


     Data safety                                                                                                                     ➔

     Safety starts with understanding how developers collect and share your data. Data privacy and security
     practices may vary based on your use, region, and age. The developer provided this information and may
     update it over time.




             < This app may share these data types with third parties
                          Personal info, Photos and videos and 3 others


            &             This app may collect these data types
                          Personal info, Financial info and 4 others


             6J           Data is encrypted in transit

             tITJ         You can request that data be deleted

                  See details



     Ratings and reviews                                                                                                             ➔
https://play.google.com/store/apps/details?id=com.zzkko&hl=en                                                                            2/5


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             Google Play                                                                                                     (?) •

                         Games                   Apps              Movies & TV               Books                 Kids
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                           1   •

     4.27M reviews




     •            Luz Lantigua                                                                                                       ••
                                                                                                                                      •

     ***** September 2, 2022
     I'm waiting for my second order at Shein and I'm really satisfied with the service. On my first order I did
     choose inexpensive items just to try my size and only one item is a bit larger than I expected. I like that they
     send the info when the order ships and I can track the packages. My order came before the date expected
     and I really liked everything. The app is easy to use.

     67 people found this review helpful

     Did you find this helpful?           Yes           No



                  Doreen Lambert                                                                                                     ••
                                                                                                                                      •

     ***** August 29, 2022
     Shein is an awesome app! Lots of great sales, wonderful items! Communication is great, they let you know
     when your items are shipped and I've never had to return anything! One thing I would change is to tell more
     in the description of an item and measurements as in the make up bags . They're a very nice size, but
     measurements would be nice. Otherwise a great app and would highly recommend to everyone!

     102 people found this review helpful

     Did you find this helpful?           Yes           No


             Roadget Business PTE. LTD.                                                                            August 29, 2022

             Glad you love SHEIN! ••




                  Brooke Poteet                                                                                                      ••
                                                                                                                                      •

     ***** August 30, 2022

https://play.google.com/store/apps/details?id=com.zzkko&hl=en                                                                             3/5


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             Google Play                                                                                                   (?) •

                            Games                Apps              Movies & TV               Books                 Kids


     33 people found this review helpful

     Did you find this helpful?           Yes           No


       See all reviews



     What's new

     Recent updates:

     1. We've fixed some issues and made performance improvements to provide you with a better experience.

     2. More surprises are waiting for you to explore on the SHEIN App!


     Developer contact                                                                                                             V



     Similar apps                                                                                                                  ➔

                      Wish: Shop And Save                                                  Alibaba.com - B2B marketplace
      "•ish           Wish Inc.                                                            Alibaba Mobile
                      4.7*                                                                 4.5*


                      Bershka: Fashion & trends                                Bongqood    Banggood - Online Shopping



     •0           .   Inditex
                      4.1   *
                      PatPat - Kids & Baby Clothing
                      lnterfocus Inc
                                                                                           Banggood
                                                                                           4.7*


                                                                                           ROMWE-Cyber Fashion Mall
                                                                                           Roadget Business PTE. LTD.
                      4.7*                                                                 4.7*

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             Google Play                                                                                                       (?) •

                         Games                   Apps             Movies & TV               Books                 Kids



     Parent Guide

     Family sharing




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